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IN THE UNITED sTATEs DISTRICT CoURT U@?'? \\0
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UNITED sTATEs oF AMERICA, 4 weigh W

Petitioner

vs. Case No. 1:04-1258 T/An
45.50 ACRES OF LAND, MORE OR
LESS, SITIATED IN GIBSON COUNTY,
TENNESSEE; and MARTHA GREEN
THOMAS; ROBERT GREEN; MILAN
PUBLIC UTILITIES; CITY OF MILAN;
JEFF SMITH; FLOYD FL[PPEN;
TENNESSEE ATTORNEY GENERAL;
AND ALL OTHER UNKNOWN PARTIES,

\./\_/\.-/\./\_/\_/V\_/\_/\_/\_/\_/V\./\'/\_/

Respondents

 

ORDER GRANTING TI-IE UNITED STATES DEFAULT JUDGMENT AS TO
MILAN PUBLIC UTILITIES, CITY OF MILAN,
JEFF SMITH, FLOYD FLIPPEN, THE TENNESSEE ATTORNEY GENERAL
AND ALL OTHER UNKNOWN PARTIES

 

Upon motion of the United States of America for entry of a default judgment against
Milan Public Utilities, City of Milan, J eff Smith, Floyd Flippen, the Tennessee Attorney General,
and all other unknown persons, it appearing to the Court that all parties were properly served with
notice of the complaint of condemnation and notice of taking, that none of the said defendants
have filed an answer or notice of appearance with the Court within the period prescribed by Fed.
R. Civ. P. 7lA, lT IS THEREFORE

ORDERED that the United States is hereby granted a default judgment against Mi]an
Public Utilities, City of Milan, J eff Srnith, Floyd Flippen, the Tennessee Attorney General, and all

other unknown persons with respect to the assertion of any claims in interest as to the property

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with ama ss and; or 19 (a) FacP on _§L/_§_"_Tl(}_]§

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described in the Notice of Taking, as well as any objections or defenses to the taking.

C)h/WD-Q»¢M

JAM D. TODD
Unit d States Di strict J udge

DATED; 941 W MS/

 

DISTRICT oURT - WESTENR D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 1:04-CV-01258 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

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Gary A. Vanasek

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable .1 ames Todd
US DISTRICT COURT

